              Case 2:94-cr-00168-GEB Document 307 Filed 02/28/17 Page 1 of 2
PROB 35 (ED/CA)

                              Order Terminating Supervised Release
                                Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                   FOR THE


                              EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                        )
                                                      )
                             v.                       )
                                                      )       Docket No.: 0972 2:94CR00168-002
                   Kenneth Joel Novak                 )
                                                      )
                                                      )


On July 10, 1995, the above-named was sentenced to Supervised Release for a period of 60
months. Supervision commenced on July 11, 2014.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that the supervisee be discharged
from supervision.


                                           Respectfully submitted,

                                             /s/ Tim D. Mechem

                                              TIM D. MECHEM
                                  Supervising United States Probation Officer


Dated:            February 27, 2017
                  Fresno, California
                  TDM/rmv


                                    /s/ Brian J. Bedrosian
REVIEWED BY:                   BRIAN J. BEDROSIAN
                               Supervising United States Probation Officer



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                                                                                                              Rev. 06/2015
                                                                                EARLY TERMINATION ~ ORDER (PROB35).DOTX
              Case 2:94-cr-00168-GEB Document 307 Filed 02/28/17 Page 2 of 2
PROB 35 (ED/CA)



Re:        Kenneth Joel Novak
           Docket No: 0972 2:94CR00168-002
           Report and Order Terminating
           Prior to Original Expiration Date




                                       ORDER OF COURT

Pursuant to the above report, it is ordered that Kenneth Joel Novak be discharged from
Supervised Release, and that the proceedings in the case be terminated.
Dated: February 28, 2017




cc:        AUSA (NAME) - Richard J. Bender
           FLU Unit – United States Attorney’s Office
           Fiscal Clerk - Clerk's Office
           Supervisee - Kenneth Joel Novak




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                                                                                             Rev. 06/2015
                                                               EARLY TERMINATION ~ ORDER (PROB35).DOTX
